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                                United States District Court
                                 District of Rhode Island

David O’Connell, individually             §
and on behalf of all others               §
similarly situated,                       §
                                          §
       Plaintiff,                         §
                                          §
v.                                        §      Case no. 1:20-cv-00031-WES-PAS
                                          §
United States Conference of               §
Catholic Bishops,                         §      Class Action
                                          §
       Defendant.                         §

     Response to Defendant’s Motion to Dismiss, and Memorandum
     of Law in Support of Plaintiff’s Cross-Motion to Transfer Venue

       Defendant United States Conference of Catholic Bishops (“USCCB”) moved to

dismiss, challenging venue and personal jurisdiction. After reviewing USCCB’s motion

and supporting declaration, Plaintiff is persuaded that venue and jurisdiction are proper

in the District of Columbia, where USCCB is based. But there is no reason for the Court

to dismiss the case. Under these circumstances, the Court should simply transfer the

case to the District of Columbia.



       1.     USCCB objects only to proceeding in Rhode Island

       David O’Connell, who lives in East Providence, filed this proposed national class

action on January 22, 2020. See generally Complaint [Doc. 1]. The gravamen of his

complaint is that USCCB advertises the Peter’s Pence Collection to American Catholics

as a way to help those around the world in urgent need of relief from war, disease, and

famine—but 90% of the millions donated each year ends up invested in unrelated

purposes like swanky real estate, European hedge funds, and Hollywood films, as
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revealed by reporting from internal Vatican sources. See id. [Doc. 1] ¶¶ 2-5, 27-30. In

2018, Mr. O’Connell made a cash donation to Peter’s Pence at Sacred Heart Church in

East Providence, Rhode Island during a Sunday mass after hearing a standard, USCCB-

scripted solicitation from the pulpit. See id. [Doc. 1] ¶¶ 5, 34.

       As to jurisdiction and venue, Mr. O’Connell alleges that USCCB promotes and

oversees Peter’s Pence all over the country, including in Rhode Island where he was

solicited and where he contributed. See id. [Doc. 1] ¶¶ 10-11. He further alleges that

venue is proper here because a substantial part of the events giving rise to his claims

happened in this district. See id. [Doc. 1] ¶ 7.

       On February 13, 2020, USCCB filed a motion to dismiss, exclusively challenging

personal jurisdiction and venue. See generally Motion [Doc. 7]. The gravamen of

USCCB’s motion is that it is based in Washington, D.C., where it prepares and

distributes all the standardized solicitation materials for Peter’s Pence, and that the

events giving rise to the claims took place in Washington, D.C., not Rhode Island. See

Memorandum [Doc. 7-1] at 1-2; see also id. at 17 (“The fact remains that the USCCB is

incorporated in and conducts virtually all of its activities in Washington, D.C.

Everything that the USCCB did in relation to the Peter’s Pence Collection, it did in

Washington D.C.”).

       Indeed, USCCB all but concedes that the Court should transfer the case to the

District of Columbia, where there would inarguably be personal jurisdiction and proper

venue: “[T]he judicial system’s interest in obtaining the most effective resolution of the

controversy […] and the common interests of all sovereigns […] will be served by having

any claims against the USCCB based on the Peter’s Pence Collection brought in the

jurisdiction where USCCB is domiciled and headquartered, Washington, D.C.”


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Memorandum [Doc. 7-1] at 18. But the only relief USCCB requests is dismissal, not

transfer. See Memorandum [Doc. 7-1] at 19.



       2.      The law and the interests of justice warrant a transfer to DC

       After reviewing USCCB’s motion, Mr. O’Connell now recognizes that this case can

and should proceed in the District of Columbia, where the key documents and witnesses

are likely to be found. Through counsel, he offered to stipulate to a transfer to the

District of Columbia, but USCCB maintains that dismissal is the proper procedure and,

thus, it will not agree.

       This Court recently addressed a similar situation in DeBarros v. Family Practice

Group, P.C., No. 19-367 WES, 2019 WL 4888638 (D.R.I. Oct. 3, 2019). The defendant

moved to dismiss for lack of personal jurisdiction and improper venue under Fed. R.

Civ. P. 12(b)(2) and (3), just as USCCB does here. Compare DeBarros, 2019 WL

4888638, at *1 with Motion [Doc. 7] at 1. Plaintiff DeBarros responded with a motion to

transfer venue to Massachusetts, where the defendant argued all relevant events

occurred. DeBarros, 2019 WL 4888638, at *1.

       In transferring the case to Massachusetts, Magistrate Judge Sullivan concisely

summarized First Circuit law on this issue, which (pursuant to 28 U.S.C. § 1631)

“establish[es] a presumption in favor of transfer, rather than dismissal, when the forum

court lacks personal jurisdiction.” DeBarros, 2019 WL 4888638, at *2 (citing

TargetSmart Holdings, LLC v. GHP Advisors, LLC, 366 F. Supp. 3d 195, 213-14 (D.

Mass. 2019); Federal Home Loan Bank of Boston v. Moody’s Corp., 821 F.3d 102, 119

(1st Cir. 2016), abrogated on other grounds, Lightfoot v. Cendant Mortg. Corp., 137 S.

Ct. 553 (2017)). Thus, if the court finds jurisdiction lacking, it should transfer a case in


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the interest of justice to any other court where it could have been filed. DeBarros, 2019

WL 4888638, at *2 (citing 28 U.S.C. § 1631). And the Supreme Court opinion in

Goldlawr, Inc. v. Heiman (also cited in DeBarros) makes clear that (pursuant to 28

U.S.C. § 1406(a)) a court may transfer a case to another district even if it lacks personal

jurisdiction over the defendant. Goldlawr, Inc. v. Heiman, 369 U.S. 463, 466 (1962).

       In this case, there is no reason for the Court to do anything different than what it

did in DeBarros. True, the defendant in DeBarros never filed an opposition to the pro

se plaintiff’s motion to transfer, and USCCB may yet lodge an opposing argument. But

that should not compel a different result. Under DeBarros and all the law it cites, the

only reason to choose dismissal over transfer is if that would better facilitate the speedy

and efficient resolution of the case in the interest of justice. See DeBarros, 2019 WL

4888638, at *2.

       Here, dismissal would accomplish nothing but waste and delay. USCCB does not

contend—and, given the extensive sourcing of the allegations, it could not credibly

argue—that the core of Mr. O’Connell’s claims is so “fanciful or frivolous” that dismissal

is warranted because that is the inevitable course of action any transferee court will

take. See DeBarros, 2019 WL 4888638, at *2 (quoting TargetSmart Holdings, 366 F.

Supp. 3d at 214). Rather, USCCB’s argument is that “the judicial system’s interest in

obtaining the most effective resolution of the controversy […] and the common interests

of all sovereigns […] will be served by having any claims against the USCCB based on the

Peter’s Pence Collection brought in the jurisdiction where USCCB is domiciled and

headquartered, Washington, D.C.” Memorandum [Doc. 7-1] at 18.

       In other words, despite USCCB’s reluctance to stipulate to the transfer Mr.

O’Connell agrees is appropriate, USCCB recognizes that this case can and should


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proceed in the District of Columbia, where it is inarguably subject to personal

jurisdiction and where venue is admittedly proper. This supports transfer—not

dismissal. DeBarros, 2019 WL 4888638, at *2.



       3.     The Court should transfer the case forthwith to DC

       USCCB’s unqualified recognition that this case could proceed forthwith in the

District of Columbia supports its transfer to that forum. So does the law, and so does

common sense. Accordingly, pursuant to 28 U.S.C. §§ 1404(a), 1406(a), and 1631, and in

the interests of justice, this Court should transfer this case to the United States District

Court for the District of Columbia.




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                            Respectfully submitted,

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                               Certificate of service

       I hereby certify that on February 26, 2020, a copy of this document was filed
electronically on the CM/ECF system, which will automatically serve a Notice of
Electronic Filing on the following counsel of record:


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